Case 9:22-cv-80726-DMM Document 97-1 Entered on FLSD Docket 09/22/2023 Page 1 of 4




                   EXHIBIT A
                                             Case 9:22-cv-80726-DMM Document 97-1 Entered on FLSD Docket 09/22/2023 Page 2 of 4



            Zlraat Bankasi


             QNB QATAR NATIONAL BANK                                                            SAVIN
                                                                                                JASSE ABDULLAH
             �UBA KODIJIADI : QNBAQAQAFTDIDOHA
                                        &                                                       STREET NO� 599
             i§lE ARIHi               : 1 /10/2013 .. 11 :25 :43                                3263 Al WAKRA
             VALOR                    : 16�10..2013                                             DOHA
             I� E YERi                : QNB J DOHA $UBESI

            A;1kl1m1 � HAVALE
            Alic kh �ube: 2�62..TCZBTR2A/BEfYOL �UBAS1
            Al1c1kl1 H 11p; 7120403 2D13 KARTSIZ
            IBAN:
            All=,aklt Adi Sey di: FADMEL ALSALI
            Al1-c1kh Vergl No:
            Komlsyon: O,DD USD
            Havale Tlltln! BOD,ODO USD

            T   n: BOD.ODO USD fi■lniz S!KlzYUZBi USDj                                                                            --,a!V'•.11   I I an m rzJa
                                                                                                                                      . T BANKASt A.f




                                                                                                           L
            16/10/2013 -11�25:43 TCZSTR2A ·ee.YOL 3LIBASI                                                                             �YQL. UIASI




                                                                                                   A
            Al cak11 Ad1 Scyad : FADHEL ALSAU
             IKAMET TEZKERE8i 0. 021829
            16.10R2013
                                                        J E1RKEZEFE DI
                                                                                           TI
                                                                         EN

                                                                                                                                     ,r
                                                           D


                                                                     -                                                                               _,.J.t GI
                                 / Ao2�8 29                         �  ! / r:l ""( c}---P � c,- � __:,
                                                        FI



                                       ��f,.: C, J/          _,r' J,-, I_:!-                   ;s�          '�•v)•-!   _;.J \�j f {"':_:o .L \
                                                N




                                                                                                                c./    ).< _. \� __;, �
                                                            l.£ ·   /\                                              i
                                                                                                                    _,_
  . \ ./
                                                                                                 �.
Jr/                                                                        • • �..,- �    J         l_ ..__...
                          1,/._..._;,c'�· \     �                      ";t
                              CO




                                                   L __,�                                        '[::-:· ....   -

                                                                                                                .,_, � JI Jr,; J'
.,.,   .,I

         '..·· ·. , I/·/ J.
                         · l!?,,. _.-:, ,,...       � ,c-
                                                 - ..7         , •;_,. -•' \ • 4:....o-1"
                                                              --                f�
                                                                               C:.-,V'-'
                                                                                           .
                                                                                          t..P
                                                                                           ,   ...-::--r
                                                                                                       .J ,
                                                                                                          ,,,.._                      .,-1


       (V'_,,.,.-   _,,,..-- ,;;_;;           -           •




;;_    'S-:.i c.J'vP \ ,c;J: � 4_,3J \ ;;___,_.. ., �                                          ,.. pl' )�
                                                                                                        I . \ �        ;.,,._[_l.
                                                                                                              r, ' - <C�    'a \                                --r�




                                                                                                                                                    Sotloff 00007
Case 9:22-cv-80726-DMM Document 97-1 Entered on FLSD Docket 09/22/2023 Page 3 of 4




                 Ziraat Bank

       QNB QATAR NATIONAL BANK                            HONORABLE
       BRANCH CODE/NAME: QNBAQAQAFTD/DOHA                 JASSEM ABDULLAH
       TRANSACTION DATE: October 16th, 2013 11:25:43      STREET NO. 599
       VALUE DATE: October 16th, 2013                     3263 AL WAKRA
       TRANSACTION PLACE: QNB/DOHA BRANCH                 DOHA

       Explanaon: TRANSFER




                                                             L
       Creditor Branch: 2162.TCZBTR2A/BEŞYOL BRANCH




                                                  A
       Account Payee: 7120403 2013 BLANK
       IBAN:
       Full Name of Creditor: FADHEL ALSALIM
       Creditor Tax No.:
                                               TI
                                     EN
       Commission: 0.00 USD
       Amount of Transfer: 800.000 USD
                              D

       Amount: 800.000 USD (EIGHT HUNDRED THOUSAND USD only)
       October 16th, 2013 11:25:43 TCZBTR2A/BEŞYOL BRANCH
                       FI
                N




                                                          Best regards
                                                          TC ZIRAAT BANK LTD
         O




                                                          BEŞYOL BRANCH
    C




                                                          [Handwri en signature]



       Full Name of Creditor: FADHEL ALSALIM / MERKEZEFENDI QUARTER, MEVLANA
       STREET, TÜRCUMAN CITY, NO: B4 ZEYTINBURNU 34015
       RESIDENCE PERMIT NO. A021829
       October 16th 2013




                                                            Sotloff 00008
Case 9:22-cv-80726-DMM Document 97-1 Entered on FLSD Docket 09/22/2023 Page 4 of 4
                                   CONFIDENTIAL DOCUMENT
                                   SUBJECT TO CONFIDENTIALITY ORDER
                                               22-CV-80726



       I, the undersigned, Fadil Al-Salim, whose address is A021829, A-Tmjuman
       Residential Complex, Moulana Street, Zeytinbmnu, hereby confom that I have
       received a sum of 800,000 eight hundred thousand US dollars only, from Mr. Jasim
       Abdallah, the representative of Qatar Charity, in my capacity as a member of the
       Supreme Council of the Leadership of the Revolution, and as the representative of the
       families of Al-Hasaka Govemorate - the Aid Project.




                                                            L
                                                        A
                                                   TI
                                            EN
                                        D
                                FI
                               N
                           O
                       C




                                                                  Sotloff 00009
